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                                                                     Sealed




                                E X JIIB IT A
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                                UN ITED STATES DISTRICT COURT
                                SO UTHERN DISTRICT OF FLORID A

                             CASE N O.11-20427-W ILL1AM S/TURN OFF


     D ISN EY EN TERPRISES,IN C.,
     TW ENTIETH CEN TURY FO X FILM CORPOM TION,
     UN IVERSA L CITY STUDIO S PRODU CTION S LLLP,
     COLUM BIA PICTU RES IN DU STRIES,INC.,and
     W ARN ER BROS.EN TERTA IN M EN T IN C.,

     Plaintp ,


     HOTFILE CO RP.,AN TON TITOV ,and
     D OES 1-10.

      Defendants.

     H OTFILE CORP.,

     Counterclaim ant,



     W ARN ER BRO K EN TERTAW M EN T W C.,

     Counterdefendant.



      PLAINTIFFS'RULE 30(b)(6)NOTICE OF DEPOSITION OF DEFENDANT H OTFILE
                                                C ORP.

            PLEASE TAKE NOTICE THAT,pursuantto FederalRuleofCivilProcedure30(b)(6),
     Plaintiffs Disney Enterprises, lnca, Tw entieth Century Fox Film Corporation,U niversal City

     StudiosProductions LLLP,Colum bia Pictures Industries,lnc.,and W arner Bros.Entertaimnent

     Inc.,by their attorneys,w ill take the deposition upon oral exam ination of Defendant H otfile

     Corp.(tdDefendant'' or $(Hotfi1e'') before a certified shorthand reporter at the offices of
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      K am bourov & Partners,55 N eofitRilskiSt.,1000 Sofia,Bulgaria,com m encing at9:00 a.m .on

      D ecem ber 7-8, 2011, or at such other tim e agreed by counsel,pursuant to Fed. R. Civ.P.

      30(b)(6),withrespecttothematterssetforthbelow in ScheduleA.Thedepositionwillproceed
      in accordance w ith the Federal Rules of Civil Procedure and w ill continue from day to day

      (Saturdays,Sundaysandholidaysexcluded)untilcompleted.Thisdeposition willberecorded
      stenographically and by videotape.

             PursuanttoRule30(b)(6)oftheFederalRulesofCivilProcedure,Hotfileshalldesignate
      one orm oreofficers,directors,m anaging agents,orotherpersonsw ho consentto testify on their

      behalf,regardingthetopicslistedon ScheduleA.



                                               By:
                                                            '
                                                            > i'
                                                               /
                                                               y'
                                                          .z .-.
                                                               .
                                                               -.. '
                                                                   u
                                                                   '
                                                                   .z'
                                                                     s--.
      D ated: Novem ber l5,201l
                                                     Duane C.Poz a


      M OTION PICTU RE ASSOCIATION                    JEN NER & BLOCK LLP
      OF A M ERICA ,IN C .                            StevenB.Fabrizio(ProHacVicej
      KarenR.Thorland(ProHacVice)                     DuaneC.Pozza(ProHacViceq
      15301V entura Blvd.                             LukeC.Platzer(ProHacVice)
      Building E                                      1099 N ew Y ork Ave.,N .W .
      Sherm an Oaks,CA 91403                          Suite 9O0
                                                      W ashington,D C 20001
                                                      Phone:202-639-6000
                                                      Fax:202-639-6066

                                                      G RAY-ROBIN SON ,P.A.
                                                      Km'
                                                        enL.Stetson(FL BarNo.742937)
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                                                      Suite 1600
                                                      M inm i,FL 33131
                                                      Phone:305-416-6880
                                                      Fax:305-416-6887

                                                      AttorneysforPlaintp
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                                               SCH EDULE A

                                               DEFINITIO NS

            The following definitions apply to the Deposition Topics listed below :

                   The wordsddyou,''t:yours,''4dyourselves,''and t'Defendants''m eansAnton Titov

     andHotfileCorp.,andincludes(i)anydirectors,officers,accountants,investigators,attorneys,
     employees,agents,representativesorotherpersons authorized to acton behalfofHotfile Cop .

     orAnton Titov;(ii)a11ofHotfileCorp.'saffiliates,divisions,units,predecessors-in-interest,
     successors-in-interest,subsidiaries,parentcorporations,andassigns;(iii)anyotherpersonor
     entityotherwisesubjecttoHottileCorp.'sorAntonTitov'scontrol,whocontrolsHotfileCorp.,
     orisundercom m on controlw ith Hotfile Corp.

                   The term s tdl-lotfile''and 'dl-lotfile W ebsite''m ean the w ebsite accessible at

     wwm hotfile.com and hotfile.com and encom passesa1lservers,software,and databasesoperated

     aspartofthew ebsite.
                   The term Sil-lotfile Entity''m eansHotfile Corpv,Hotfile,S.A .,and H otfle,Ltd.,as

     wellasany entity tlaatparticipates in the m anagementoroperation ofthe Hotfile W ebsite,and

     shallfurtherinclude principals,executives,officers,directors,em ployees,agents,

     representatives,orshareholdersofsuch entity.

                   Theterm SsLemuria''meansLemuriaCommunicationslnc.('Temuria'')including
     any principals,executives,officers,directors,em ployees,agents,representatives,orshareholders

     ofLem uria,a11ofLem uria'saffiliates,divisions,units,predecessors-in-interest,successors-in-

     interest,subsidiaries,parentcorporations,and assigns,and any otherperson otherwise

     understoodbyyoutobesubjecttoLemuria'scontrol,whocontrolsLemuria,orisunder
     com m on controlw ith Lem uria.
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                      Thesingularshallinclude the pluraland vice versa;the term sGtand''or('or''shall

     bebothconjunctiveanddisjunctive'
                                    ,andtheterm ''
                                                 including''shallmeanttincludingwithout
     lim itation.''
                      ltD ate''shallm ean the exactdate,m onth and year,ifascertainable or,ifnot,the

     bestapproximationofthedate(baseduponrelationshipwithotherevents).
                      The word 'tdocum ent''shallhave them eaning ofthe term ttdocum entsor

     electronicallystoredinformation';inFederalRuleofCivilProcedure34(a)(1)(A).
                      'dAgent''shallm ean any agent,em ployee,officer,director,attorney,independent

     contractororany otherperson acting atthe direction oforon behalfofanother.

                      tsperson''shallm ean any individual,corporation,proprietorship,partnership,trust,

     association orany otherentity.
             10.      'l-hew ords dipertain to''ortçpertaining to''m ean relates to,refersto,regarding,

     contains,concernspdescribes,em bodies,m entions,constitutes,constituting,supports,

     corroborates,dem onstrates,proves,evidences,shows,refutes,disputes,rebuts,controvertsor

     contradicts.
                      Theterm dtl-lotfile user''m eans any person who hasdirected hisorherlnternet

     browserto the Hotfle W ebsite orotherwise accessed theH otfile W ebsite,including any person

     who hasregistered with the H ottile website,any person who hasatany tim e opened a

     Sçprem ium ''accountwith the Hottile website,and any person who hasatany tim c been a

     participantin any ofthe Hotfile W ebsite'sGtAffiliate''program s.

             12.      Theterm StcontentFile''meansanyelectronicfile uploaded to,storedonand/or

     downloaded from the Hotfile W ebsiteby any H otfileuseratany tim e.
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                   The term dW ffliate program s''m eans a1loffers,program sorpracticeswhereby

     Hotfle usersreceive com pensation from any DefendantorHotfile Entity,including the

     SsAffiliate''program foruploading usersand the StReferral''program s tdforsite owners''and

     dllkefera friend''asdescribed athttp:
                                         //-   vhotfle.com/afâliate.htm l.
                   Theterm df ontentReferenceD ata''m eans any clectronic datapertaining to the

     ContentFiles(apartfrom theContentFilesthemselves)receivedbyHotfileserversorothcrwise
     created,m aintained,orused by Hotfile orD efendants. ttcontentReference Data''shallinclude:

                   the HotfleU RL associated with each such file;
                   any unique Hotfile-assigned identifierassociated such each such file;
                   any identifiersofthe uploading Hotfile userassociated with each such file
                   including IP address,usernam e,and H otfile useridentification num ber;
                   theH otfile usersupplied filenam e ofeach such file;

               e. the size in bytes ofeach such file;
                   the date and tim e each such tilew asuploaded to Hotfile;
                   thelocation and/orIP addressfrom which each such filew asuploaded to Hotfile;
               h. the num beroftim es each such file hasbeen downloaded from H otfile;
                   the location and/orIP addressfrom which each such file w asdownloaded from
                   Hotfile;
                   the datesand tim e ofeach download ofeach such file from Hottile;
               k. whethereach such f5lew ascopied using Hotfile'sfeature by w hich an uploading
                  userm ay create additionalcopieswithin theiraccount,and ifso,the Hotfile URL
                  and any unique identifier associated with each resulting copy;
                   the (istatus''ofeach such f5le on the Hotfile W ebsite,including:

                          w hetherthe file rem ainsactive;
                          w hetherthe f5le hasbeen blocked from useraccess,orfrom H otfile's
                          Servers;




                                                    5
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                     iii. forfilesthatdo notrem ain active,the reason why the file no longer
                          rem ainsactive,including

                                 whetherthefilewasthesubjectofacopyrightownerclaim or
                                 notice;
                              2. whetherthc Hotfile userdeleted the file;or
                              3. whetherthe lile wasblocked,rem oved,ordeleted forinactivity;or
                                 w hetherthe f5le isno longeractive forsom e otherreason.

            15.    The term StuserData''m eansallelectronic data received by H otfile serversor

     otherw ise created,m aintained,orused by HotfileorDefendantsretlecting inform ation about

     Hotfile usersswhetherregistered orunregistered,including any useraccountoractivity records,

     any recordsofuploadsto ordownloadsfrom Hotfilebyusers(including logfiles),andal1
     recordsconcerning paym entsm ade orowed to usersunderany ofHotfile's ltAffiliate''program s.

            16.    Theterm S%A ffiliateD ata''m eansa11electronic data reflecting inform ation about

     the personsorentitiesto which H otfilem akespaym ents,directly orindirectly,aspal4 ofany of

     itsdsA ffiliate''program s,including am ountsand datesofpaym ents;the URLS ofwebsites

     registered by Hotfile usersunderHotfile'sreferralprogram forsite owners'
                                                                            ,the am ountsof

     traffic from such websites;the num berofdownloadsby usersarriving from such websites;the

     numbersofHotfilePrem ium subscriptionsresulting from traffic from such w ebsites;form ulas,
     algorithms,orotherm ethodsused to calculate those paym ents;and any data used to calculate the

     am ountsofsuch paym entsordeterm ine theirproperrecipients.

                                         DEPO SITIO N TO PIC S

                   A lldata collected orreceived by Hotfile,including a11ContentReference D ata,

     UserData,and AffiliateData,thedatabasesin which thatdataisstored,anda1lactionstakento

     log any data received by Hotfile.

                   Theprocessesbywhichusersmayuploadandcreatecopiesoffiles(including
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     remoteand FTP upload offiles).
                      The processesby w hich Hotfile m akesand stores copiesoffiles,and the t5le

     storage architecture and related software ofthe Hotfile W ebsite,

                      The processes by which Hotfile displays inform ation and perm itsusersto m anage

     theirfilesandbywhichusersreceivealink(includingadihotlink'')forthosefiles.
                      The processesby which usersm ay create additionalcopies ofpreviously

     uploaded filesand additionallinksto those files.
                      The processesby which Hotfle enablesorrestrictsthe downloading efContent

     Files,including w hetherand how itrestrictsdow nload speedsorotheraccessto those filesby

     certain users.
                      The processesby which Hotfile enablesthe downloading ofContentFiles,

     including whetheritcreates m ultiple copiesofthose files in the course ofdownloading.

                      Theprocessesby which Hotfile m onitorsany (tcheating''in dow nloading.

                      Any policy,m ethods,orpracticesany Defendant,Hotfile,orH otfile Entity has

     everadopted orconsidered pertaining to the deletion offilesuploaded by usersthathave not

     beendownloadedbyuserswithinaparticulartimeperiod(suchas90days).
            10.       TheContentFilesuploaded to ordownloaded from H ottile,including by you or

     individualsidentified in responseto Interrogatory N o.1,and yourknowledge ofw hetherany of

     those contained infringing contentorcontentalleged to be infringing.

                      Hotfile's,D efendants',orany HotfileEntity'sprocesses,procedures,oractions

     taken torestrict,disable,orrem oveCtmtentFilesforanyreason,includingnotificationsof

     copyrightinfringem ent.
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                    The circum stancesofyourcreation and the implem entation ofH otfile'sSpecial

     RightsholderAccount(1iSRA''),oranyotheraccountpermittingcopyrightholderstodisableor
     rem ove ContentFiles,asw ellastheauthorization ofitsuse by copyrightowners and theiragents

     (includingPlaintiffs)andidentifcationofanyfilesremovedviaanysuchaccount.
              13.   Thetechnicaloperation ofthcSRA,including:
                    W hetherfilesnoticed through the SIRA are deleted im m ediately orrendered
                    inaccessible forsom e period oftim epriorto deletion;
                b. How the SRA respondsto URLSthatresolve to subpagesofHotûle instead of
                   URLSthatresolve to specil'
                                            ic files,such as çtlist''pagescontaining m ultipleU RLS
                    thatresolvetospeciticfiles,asreferencedbywww.
                                                                hotfile.com/faq.html.(t(Q.
                    How can 1createlistwith al1files in folder?A .Y ou can do itwith ourFile
                    M anager-foreach yourdirectory you willfind ''Getlink'  'option.Click itand
                    you willgetur1ofpage,containing a11yourfilesin thisdirectory.'');
                    A ny changcsto the SR A overtim e.
              14.   Any policy,m ethods,orpractices any Defendant,Hotfile,orH otfile Entity has

     everadopted orconsidered,orany actionstaken,regarding therem oval,blocking,orrestriction

     ofanycontent(includingunauthorizedorcopyrightedcontent)from theHotfileW ebsite,
     including via use of:

                    Anyhmsh-based(MD5,SHAIorotherwise)technology;
                    A ny technology or service based on audio,audiovisual,or video fingerprinting
                    (e.g.Vobile,AudibleM agic,etca);and
                    Any technology based on filenam e, filenam e extension, file type, file size,
                    internaltile m etadata,orany com bination thereof.

                    Thecontent,design,featuresandfunctionalitiesoftheHotfileW ebsite(including
     theHotfileToolreleasedinJuly20l1,Hotfileddlist''pages,andtheHotfilel'LinkChecker''),
     including any feature specification,feature requirementsdefinition,orsystem architecture,and

     any changesm ade to the content,design,features and functionalities ofthe H otfile W ebsiteover

     tim e.
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           16.       l'Iotfile'sim plem entation oftheHotfile W ebsite in source code and the

    m aintenanceofthatcode in a repository orrepositoriescontaining pastversions.

                     Hotfile'suseofdatabasesinsupportoftheHottslcW ebsite(includingtablesin
    thedatabaseandthecolumnsofthosetables).
           18.       A ny consideration,discussion oranalysisregarding im plementation oruse of

    functionality perm itting usersto search forindividualContentFilesorU RLSon the H otfile

    W ebsite,including any reason w hy the H otfileW ebsite doesnotcontain such a search

    functionality.
                     The usesofthe H otfile W ebsite,includingtheexistence and am ountofinfringing

    ornon-infringing uses,the reasonsthatusers are attracted to theH otfile W ebsite,the

    dem ographic orothercharacteristicsofHotfile users,and any otherinform ation aboutthe

    characteristics ofHotfile usesorusersgained from sourcessuch asGoogle A nalyticsorlog data.

           20.       The sitesfrom which userscom e to the Hotfile W ebsite,and thenature of

    Hotfile'srelationshipwithanyofthosesites(includingyourcommunicationswithanyofthe

    operatorsofthosesites).
           21.       Any disciplinary action,orconsideration ofsuch action,againsta w ebsite

    referring traffic to Hotfile,orthe operatorofsuch a website,forany reason including reasons

    pertaining to copyrightinfringem entorclaim sornoticesofcopyrightinfringem ent.

                     The design and im plem entation ofeach ofHotfile's Affiliate progrnm s,including

    the calculation ofany paym ents to A ffiliatesorto any Hotfile users.

                     Alleffortstopromote,advertise,ormarkettheHottile W ebsite,including

    statem entson public forum sand paym entsto contractorsto prom ote H otfile.

           24.       A ny consideration oforstepstaken to im plem entadvertising on Hotfile.



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           25.       A 1leffortsto attractH otfileusers orpotentialHotfile usersfrom otherlûlocker''or

    file storagew ebsites,including Rapidshare and M egatlpload.

           26.       A l1effortsto attractH otfile usersorpotentialHotfile usersfrom otherfile-sharing

    orfile-trading services,including BitTorrent,eDonkey,orLim ewire.

           27.       H otfile'suse ofpaym entprocessors,including Paypaland Segpay.

           28.       The im plem entation ofHotfile'sddReseller''program .

                     A 11com m unicationsby you orany individualorentity acting on behalfofHotfile,

    you,orany HotfileEntity with any H otfile user,including to provide technicalorother

    assistance to any H otfile users.

           30.       A 11paym ents to orfrom any Hotfile users.
                     A 11classificationsoforprivilegesprovided to any Hotfile usersorclassesof

    H otfileusers.

           32.       Any policy,m ethods,orpracticesany D eftndant,Hotfile,orHotfile Entity has

    everadopted orconsidered pertaining to preventing abuse ofthe Hotfile system ,including any

    m easuresto preventim properdownloads,to preventthe creation offalse dow nload traffc,and

    to detectorim pede bots.

                     Any actionsof effortsby,ortheabilityof,any Defendant,Hotfile,orany Hotfile
    Entity to term inate,block,orlim itthe accessofany subscriberoruserfrom the H otfile W ebsite,

    forany reason;any consideration ofsuch actions,efforts,orability;the explanation forany

    suspension,term ination,orlim itation on accessofany userforany reason,including copyright

    infringem ent;and the circum stancessurzounding thereinstatem entofany user.




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           34.       Any policiesand practices by Defendant,Hotfile,orany Hotfile Entity to

    im plem enta policy to term inate,suspend orrestrictany Hotfleuseron the basisofcopyright

    infringem ent.
                     Forevery userconceivably suspended,restricted,orterm inated forcopyright

    infringem ent,thefactsand circumstancessurrounding eachterm ination,including,butnot

    lim ited to,the usersassociated with the following Hotfile user1Ds:

                       i. 32764
                      ii. l38846
                     iii. 34812
                     iv. 397615
                      v. 87196
                     vi. 508230
                    vii. 341959
                   viii. 911925
                     ix. 126425
                      x. 1393891
                     xi. 296013
                    xii. 725726
                   xiii. 1075847
                    xiv. 166771
                     xv. 316712
                    xvi. 934520
                   xvii. l211307
                  xviii. 98192
                    xix. 393329
                     xx. 1101456
                    xxi. l52289
                   xxii. 1295588
                  xxiii. 346223
                  xxiv. 1023354
                   xxv. 680855
                  xxvi. 21807
                 xxvii. 218076
                 xxviii. l12212
                  xxix. 597652
                   xxx. 412187
                  xxxi. 105689
                 xxxii. 96987

                                                    11
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                  xxxiii. 235052
                   xxxiv. 295677
                   xxxv. l521906
                   xxxvi. 404651
                  xxxvii. 264034
                 xxxviii. 1864493
                   xxxix. 2102138
                      xl. 286330
                      xli. 17411
                     xlii. 78460
                    xliii. 1633993
                    xliv. 308101
                     xlv. 4061566
                    xlvi. 4108532
                    xlvii. 114447

           36.    A llcom m unicationswith any copyrightownersregarding infringem enton the

    Hotfile W ebsite.
                  Any actions,policicsorpracticestaken by any D efendant,Hotfile,orany Hotfile

    Entity to com ply w ith the requirem ents ofthe DigitalM illennium CopyrightA ct,17 U.S.C.

    j512($$DM CA''),includingdesignationofanindividualtoreceivecopyrightnoticesonthe
    H otfilewebsite and the CopyrightOffice.
                  Any actions,policiesorpracticestaken by any D efendant,H otfile,orany Hotfile

    Entity to respond to takedown noticesorothercomm unications from copyrightownerssent

    pursuantto the DM CA and any changesto those actions,policiesorpracticesovertime.

           39.    A 11explanationsofHotfile'sDM CA policies on the Hotfile W ebsite orto any

    user,including com m unications with usersregarding takedown noticesand any w mmingssentto

    usersrelated to the receiptoftakedown notices.
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                   Theprocessesby which Hotfile identifiesand m aintainsrecordsofusersw ho

    haveuploaded contentidentified in DM CA takedown notices,including any related databases,

    tables,software,orsystem architecture.
                   Allactionstaken by the individuals orentitiesidentified in responseto Plaintiffs'

    lnterrogatory No.1,on behalfoforatthe direction ofDefendants,Hotfile,orany H otfileEntity,

    including the scope ofresponsibilities orwork ofsuch individualsorentities,the nature of

    D efendants'orH otfile'srelationship w ith those individualsorentities and the involvem entof

    those individualsorentitiesin the operation ofthcH otfile W ebsite.

                   Hotfile'srelationship and com m unicationswith itsinternetservice providers,

    including W ebazilla,Lim elightN etw orks,and Lem uria,and the circum stances surrounding the

    form ation ofLem uria and thew ork itperform son behalfofH otfile.

                   The shareholders,investors,and potentialinvestors in the Hotfile W ebsitc,and

    the circum stances surrounding the form ation and operation ofHotfile Corp.and any H otfile

    Entity,including therelationship and paym entsexchanged between Hotfile Corp.and any

    H otfile Entity.

           44.     The revenuesreceived by Defendantsorany HotfileEntity,including profitsfrom

    the operation ofHotfile and the distribution ofthoserevenues.
           45.     Hotfile's adherence to corporate form alities,including butnotlim ited to:

                   the incorporation ofHotfile Corp.and any Hotfile Entity;

               b. H otfile Corp.'sand any H otfileEntity'sappointm entofofficersand dizectorsand

                   theirinvolvem entin the operation and m anagem entofH ottile Corp.and any

                   Hotfile Entity;
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                  the m aintenance ofbank accounts and banking recordsby HotfileCorp.and by

                  any H otfile Entity;

                  paym entsordistributionsto any shareholders ofHotfile Corp.orany Hotfile

                  Entity.

           46.    The factualbascsforeach ofyouraffirm ative defenses.

                  A lleffortsto preserve any data collected orreceived by H otfile,orany docum ents

    ordata requested by Plaintiffsin the litigation,including al1circum stancesregarding the

    preservation and deletion ofdownload 1og data from February 2011.

           48.    A 11efforts to search forand collectresponsivedocum cnts,data,and inform ation

    inresponsetoPlaintiffs'discovery requestsserved inthislitigation,including identificationof

    the em ailaddresses,instantm essaging handles,computers,and docum entcustodianssearched,

    whetherany individuals who provided seN icesorperform ed work on behalfofHotfilehave

    em ailaddresses,instantm essaging handles orcomputersthatw ere notsearched,and

    identification ofany database queriesused to extractresponsive data.

           49.    The authenticity ofany docum ents ordataproduced by D efendants during the

    courseofdiscovery in this litigation.

           50.    The bases foryourresponsesto each ofPlaintiffs'lnterrogatories,including but

    notlim ited to lnterrogatoriesN os.1,2,4,6,9,l0,12,and l3.
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                                   CERTIFICATE OF SERVICE
           1HEREBY CERTIFY thaton this 15th Day ofN ovem ber,2011,1served the follow ing

    documentsonallcounselofrecordontheattachedservicelistviatheiremailaddresstes)asset
    forth on the attached service listpursuantto theparties'service agreem ent:

           PLAINTIFFS'RULE 30(b)(6)NOTICE OF DEPOSITION OFDEFENDANT
           H OTFILE CO RP.
    1furthercertifythat1am admittedpr/ hacviceto theUnited StatesCoul'tfortheSouthern

    DistrictofFlorida and certify thatthiscertificate ofService wasexecuted on thisdate at

    W ashington,D .C.
                                                    By: 1 /'
                                                           /z,
                                                             ' ..
                                                               .

                                                         Duane C.Po za




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                                           SERVICE LIST

                          D isney Enterprises,Inc-,etal.v.H otfile Corp.etal.
                                  CASE N O .11-CIV-20427-JO RDAN



    FA RELLA BRAUN + M ARTEL LLP                    RASCO K LOCK
    Anthony P.Schoenberg                            JanetT.M unn
    tschoenberart
                klbm .coln                          imunno rascoklock.com
    Roderick M .Thompson                            283 Catalonia A ve.,Suite 200
    l'thompsono fbmwcom                             CoralGables,FL 33l34
    N .Andrew Leibnitz                              Phone: 305-476-7101
    aleibnitz@fbm.com                               Fax: 305-476-7102
    D eepak Gupta
    dgupta@ tbm,com                                AttorneyforDefendantsStpt/z/eCorp.and
    JanelTham kul                                  Anton Titov
    ithamkul@ fbm.com
    235 M ontgomery Street
    San Francisco,CA 94104
    Phone: 415-954-4400

   AttorneysforDqfendantsHolhleCorp.and
   Anton Titov




   BOSTON LAW GROUP,PC
   V alentin Gurvits
   vo
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